Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 1 of 27 PageID #: 133




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


DISPLAY TECHNOLOGIES LLC,                                Civil Action No. 17-cv-1426-RGA

                                                         PATENT CASE
                          Plaintiff,
v.                                                       JURY TRIAL DEMANDED
GIBSON INNOVATIONS USA,
INC.,

                          Defendant.



 DEFENDANT GIBSON INNOVATIONS USA, INC.’S OPPOSITION TO PLAINTIFF
  DISPLAY TECHNOLOGIES LLC’S MOTION FOR LEAVE TO FILE AMENDED
                          COMPLAINT


OF COUNSEL:

BATES & BATES, LLC                                 FERRY JOSEPH, P.A.

Andrea E. Bates (Pro Hac Vice)                     /s/ Rick S. Miller
Kurt W. Schuettinger (Pro Hac Vice)                Rick S. Miller (#3418)
1890 Marietta Boulevard NW                         824 Market St., Suite 1000
Atlanta, GA 30318                                  P.O. Box 1351
(404) 228-7439                                     Wilmington, DE 19899
abates@bates-bates.com                             (302) 575-1555
kschuettinger@bates-bates.com                      rmiller@ferryjoseph.com
Attorneys for Defendant Innovations Brands, Inc.   Attorney for Defendant Innovations Brands, Inc.
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 2 of 27 PageID #: 134




                                                  TABLE OF CONTENTS



  I.   STATEMENT OF THE NATURE AND STAGE OF PROCEEDINGS ............... 2

 II.   SUMMARY OF ARGUMENT ........................................................................................... 2

III.   STATEMENT OF FACTS................................................................................................... 4

IV.    LEGAL STANDARDS ......................................................................................................... 6

 V.    ARGUMENT AND CITATION TO AUTHORITY .................................................... 7

            A. Amendment would be Futile as the ‘723 Patent-Ineligible under 35 U.S.C. §101

                  because it covers an abstract idea ........................................................................... 7

                           1. Like the ‘723 Patent, courts have found patents that cover the
                              transfer of content between computers as abstract ............................ 8

                           2. The ‘723 Patent’s Claims are abstract as they recite limitations in
                              purely functional terms.......................................................................... 11

                           3. The ‘723 Patent’s claims are abstract because they cover well-known
                              or fundamental concepts ....................................................................... 12

            B. Amendment would be futile because the ‘723 Patent’s claims fail to recite an

                  inventive concept .................................................................................................... 13

VI.    CONCLUSION ................................................................................................................... 20




                                                                       i
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 3 of 27 PageID #: 135




                                                   TABLE OF AUTHORITIES

                                                                      CASES

3G Licensing, S.A. v. Blackberry Ltd.,

  2018 WL 1419085 (D. Del. Mar. 22, 2018) ...................................................................... 3, 14, 17

Aatrix Software, Inc. v. Green Shades Software, Inc.,

  882 F.3d 1121 (Fed. Cir. 2018) ............................................................................................ 3, 14,18

Affinity Labs of Texas, LLC v. Amazon.com Inc.,

  838 F.3d 1266 (Fed. Cir. 2016) ..............................................................................................Passim

Affinity Labs of Texas, LLC v. DIRECTV, LLC,

  838 F.3d 1253 (Fed. Cir. 2016) ..............................................................................................Passim

Alice Corp. Pty. v. CLS Bank Int'l,

  134 S. Ct. 2347, 189 L. Ed. 2d 296 (2014). ........................................................................... 7,8,14

Barefoot Architect, Inc. v. Bunge,

  632 F.3d 822 (3d Cir. 2011).............................................................................................................. 7

Berkheimer v HP Inc.,

  881 F.3d at 1369 (Fed. Cir. 2018) ..................................................................................................14

buySAFE, Inc. v. Google, Inc.,

  765 F.3d 1350 (Fed. Cir. 2014) ......................................................................................................18

Callwave Commc'ns, LLC v. AT & T Mobility,

  207 F. Supp. 3d 405 (D. Del. 2016) ................................................................................................ 7

CyberSource Corp. v. Retail Decisions, Inc.,

  654 F.3d at 1370 (Fed. Cir. 2011) ..................................................................................................19

Enfish, LLC v. Microsoft Corp.,

  822 F.3d 1327 (Fed. Cir. 2016) ........................................................................................................ 8



                                                                           ii
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 4 of 27 PageID #: 136




FairWarning IP, LLC v. Iatric Sys., Inc.,

 839 F.3d 1089 (Fed. Cir. 2016) ......................................................................................................13

In re Chemed Corp., S'holder Derivative Litig.,

 2017 WL 1712530 (D. Del. Apr. 25, 2017).................................................................................... 6

In re TLI Communications LLC Patent Litigation,

 823 F.3d 607 (Fed. Cir. 2016) ................................................................................................Passim

Intellectual Ventures I LLC v. Erie Indem. Co.,

 850 F.3d 1315 (Fed. Cir. 2017) ......................................................................................................14

Intellectual Ventures I LLC v. Erie Indem. Co.,

 2017 WL 5041460 ...................................................................................................................... 12,13

Intellectual Ventures I LLC v. Symantec Corp.,

 838 F.3d ....................................................................................................................................... 12,13

Internet Patents Corp. v. Active Network, Inc.,

 790 F.3d 1343 (Fed. Cir. 2015) ........................................................................................................ 8

IPA Techs., Inc. v. Amazon.com, Inc.,

 2018 WL 1583051 (D. Del. Mar. 31, 2018) .................................................................................18

Landmark Tech., LLC v. Assurant, Inc.,

 2015 WL 4388311 (E.D. Tex. July 14, 2015) ................................................................................ 8

Lanier v. Branch Banking & Tr. Co.

  No. CA 3:12-628-MBS-SVH, 2013 WL 4692586 ........................................................................ 7

Mortg. Grader, Inc. v. First Choice Loan Servs. Inc.,

 811 F.3d 1314 (Fed. Cir. 2016) ........................................................................................... 11,18,19

OIP Techs., Inc. v. Amazon.com, Inc.,

 788 F.3d 1359 (Fed. Cir. 2015) ........................................................................................................ 7



                                                                               iii
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 5 of 27 PageID #: 137




OpenTV, Inc. v. Apple, Inc.,

  2015 WL 1535328 (N.D. Cal. Apr. 6, 2015) ................................................................................17

Pres. Wellness Techs. LLC v. Allscripts Healthcare Sols., No. 2:15-CV-1559-WCB,

  2016 WL 2742379 (E.D. Tex. May 10, 2016)..............................................................................18

RecogniCorp, LLC v. Nintendo Co.,

  855 F.3d 1322 (Fed. Cir. 2017) ................................................................................................ 14,17

Roquette Freres v. SPI Pharma, Inc.,

  2009 WL 1444835 (D. Del. May 21, 2009) .................................................................................6,7

Sound View Innovations, LLC v. Facebook, Inc.,

  204 F. Supp. 3d 655 (D. Del. 2016) ................................................................................................ 8

Synopsys, Inc. v. Mentor Graphics Corp.,

  839 F.3d 1138 (Fed. Cir. 2016) ......................................................................................................14

Tele-Publ'g, Inc. v. Facebook, Inc.,

  252 F. Supp. 3d 17 (D. Mass. 2017) ..............................................................................................17

TriPlay, Inc. v. Whatsapp Inc.,

  2018 WL 1479027 (D. Del. Mar. 27, 2018) ........................................................................ 3,15,18

Two–Way Media Ltd. v. Comcast Cable Commc’ns, LLC,

  874 F.3d 1329 (Fed. Cir. 2017) ................................................................................................ 14,18

Ultramercial, Inc. v. Hulu, LLC,

  772 F.3d 709 (Fed. Cir. 2014) ................................................................................................Passim

W. View Research, LLC v. Bayerische Motoren Werke AG,

  226 F. Supp. 3d 1071 (S.D. Cal. 2016) ................................................................................... 15,18

                                                                    STATUTES

35 U.S.C. § 101 ............................................................................................................................Passim



                                                                             iv
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 6 of 27 PageID #: 138




                                                                          RULES

Fed. R. Civ. P. 15(a).............................................................................................................................. 6

Fed. R. Civ. P. 15(a)(2) ......................................................................................................................... 6

Fed. R. Civ. Pro. 12(b)(6) ............................................................................................................. 2,6,7

                                                         OTHER AUTHORITIES

U.S. Patent No. 9, 300, 723 (“the ‘723 Patent”) ....................................................................Passim




                                                                               v
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 7 of 27 PageID #: 139




I.      STATEMENT OF THE NATURE AND STAGE OF PROCEEDINGS

        Plaintiff Display Technologies, LLC (“Display”) filed its First Amended Complaint on

December 13, 2017, asserting Defendant Gibson Innovations USA, Inc. (“Innovations”) infringed

Display’s U.S. Patent No. 9, 300, 723 (“the ‘723 Patent”). The ‘723 Patent is attached as Exhibit A

to the First Amended Complaint. [D.I. 9.] On February 5, 2018, Innovations moved to dismiss the

First Amended Complaint under Fed. R. Civ. Pro. 12(b)(6) because all the asserted claims are invalid

under 35 U.S.C. § 101. [D.I. 12.] In response to Innovations’ Motion to Dismiss, Display filed the

present Motion for Leave to Amend to File a Second Amended Complaint and asked that this Court

extend the deadline for Display to respond to Innovations’ Motion to Dismiss until the Court rules

on the Motion for Leave. [D.I. 17-18.] Because the proposed amendment would be futile, this is

Innovations’ Opposition Brief to that Motion.

II.     SUMMARY OF ARGUMENT

        The ‘723 Patent is patent-ineligible because it claims the abstract idea of establishing a

communication link between two electronic devices, such that a security measure (like a password,

firewall, etc.) associated with one of the devices can be bypassed. Specifically, claim 12 of the ‘723

Patent at its core is simply placing two electronic devices in communication over a computer

network. Placing electronic devices in communication via a computer network is not new. In fact,

this technology has existed for decades. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 717 (Fed.

Cir. 2014)(“Any transformation from the use of computers or the transfer of content between

computers is merely what computers do and does not change the analysis.”); see also Affinity Labs of

Texas, LLC v. Amazon.com Inc., 838 F.3d 1266 (Fed. Cir. 2016) (“[i]t is not debatable, however, that

the delivery of media content to electronic devices was well known long before the priority date of

the '085 patent[.]”).




                                                  2
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 8 of 27 PageID #: 140




        In seeking leave to amend, Display makes no argument that the ‘723 Patent does not claim

an abstract idea. As the ‘723 Patent claims are an abstract idea, it must recite an “inventive concept”

that would make the abstract idea patentable. In this regard, Display seeks leave to amend the

complaint to add allegations that “the inventions claimed in the ‘723 Patent require the bypassing of

a ‘security measure’ in order to transfer an electronic file’” and “this feature is not conventional or

routine, nor is it obvious since security measures are typically put in place to be used, not bypassed.”

[See Proposed Second Amended Complaint at ¶ 17.] Display then cites Aatrix Software, Inc. v. Green

Shades Software, Inc., 882 F.3d 1121, 1128 (Fed. Cir. 2018) for the proposition that the “Federal

Circuit held that it was an abuse of discretion for the District Court to deny leave to amend because

the ‘allegations, if accepted as true, contradict the district’s conclusion that claimed combination was

unconventional or routine.’” [D.I. 17, 1.]

        Even post-Aatrix, this District has repeated that, “[t]o save a patent at step two, an inventive

concept must be evident in the claims.” See 3G Licensing, S.A. v. Blackberry Ltd., No. CV 17-82-LPS-

CJB, 2018 WL 1419085, at *6 (D. Del. Mar. 22, 2018) (“The Court agrees with Defendants. No

‘saving inventive concept’ is evident in the claims.”) (internal citation omitted, emphasis in the

original); see also TriPlay, Inc. v. Whatsapp Inc., No. CV 13-1703-LPS-CJB, 2018 WL 1479027, at *11

(D. Del. Mar. 27, 2018) (granting motion to dismiss where “[t]he claims, specification, and TAC are

silent as to how the proposed inventive concept is implemented”) (emphasis added). Here, neither

the proposed Second Amended Complaint, specification, or more importantly, the claims

themselves disclose how a communication link is structured to bypass a security measure. Thus,

bypassing of a “security measure” cannot constitute an inventive step, which a user could simply do

on their own by entering a password.

        Accordingly, Innovations requests this Court deny Display’s Motion for Leave to File a

Second Amended Complaint, as amendment would be futile given the ‘723 Patent is invalid on its



                                                   3
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 9 of 27 PageID #: 141




face and Innovations would suffer prejudice by having to continue to defend against meritless

claims.

III.      STATEMENT OF FACTS

          Presently before this Court is Display’s Motion for Leave to File a Second Amended

Complaint, wherein it seeks leave to amend its First Amended Complaint to add the following

allegations to Paragraph 17:

        The inventions claimed in the ‘723 Patent require the bypassing of a “security
        measure” in order to transfer an electronic file. This represents an improvement
        over prior art systems that require the use of, not the bypassing of, a security
        measure in order to transfer a file over a network. As such, this feature is not
        conventional or routine, nor is it obvious since security measures are typically put in
        place to be used, not bypassed. This inventive concept constitutes an improvement
        of the operation and efficiency of the system by simplifying file transfers for users
        who are in a position to know that there is no need to comply with the requirements
        of a security measure for certain file transfers.
[See proposed Second Amended Complaint at ¶ 17.]

          The proposed Second Amended Complaint alleges that Innovations is infringing “claims 12,

14, 16, 17, and 20 of the ‘723 Patent.” [See proposed Second Amended Complaint at D.I. 17-1, ¶

10.] The proposed Second Amended Complaint does not attach the ‘723 Patent, but it is attached

to the First Amended Complaint.           The ‘723 Patent purports to disclose “a digital media

communication protocol structured to facilitate transferring and/or transmitting one or more digital

media files to and/or from a media terminal and a media node via at least one interactive computer

network.” [See ‘723 Patent at 1:16-21.]

          Claim 12 is the only independent claim Display alleges that Innovations is infringing. Claims

14, 16, 17, and 20 are dependent claims tied to Claim 12.

          Independent Claim 12 recites:

12. A media system configured to receive a media file from a wireless mobile device over
communication network, comprising:
a wireless receiver;

a security measure; and

                                                    4
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 10 of 27 PageID #: 142




the media system disposed in an accessible relation to at least one interactive computer
network that has a wireless range structured to permit authorized access to said at least
one interactive computer network,

the wireless mobile device within said wireless range,
        wherein said wireless mobile device is detectable by said system,

at least one digital media file initially disposed on the wireless mobile device, said media system
         being structured to detect said wireless mobile device disposed within said wireless range,

a communication link structured to dispose said media system and said wireless mobile device
      in a communicative relation with one another via said at least one interactive computer
      network,

said communication link being initiated by said media system,

said wireless mobile device and media system being structured to transmit said at least one
digital media file therebetween via said communication link, and

said communication link is structured to bypass the security measure of the media system for
         a limited permissible use of the communication link by the wireless mobile device for only
         transferring the at least one digital media file to, and displaying the at least one digital media
         file on, the media system.
[See ‘723 Patent at 8:29-59.]

        Dependent claims 14, 16, 17, and 20 stem from claim 12. Dependent claim 14 recites the

“media system of claim 12, wherein the transmission of the at least one digital media file from the

wireless mobile device to the media system completely bypasses the security measure.” [See ‘723

Patent at 8:62-65.] Dependent claim 16 recites the “media system of claim 12, wherein the media

system is an audio system.” [See ‘723 Patent at 9:1-2.] Dependent claim 17 recites the “media

system of claim 12, wherein the communication link is at least one of a peer-to-peer connection,

blue-tooth connection, and a WiFi connection.” [See ‘723 Patent at 9:1-2.] Finally, dependent claim

20 recites the “media system of claim 12, wherein the at least one media file is provided by the

wireless mobile device.” [See Id. at 9: 12-13.]

        Claim 12 merely recites a system for transmitting a digital media file from a media node to a

media terminal over a communication link. The generic technological elements of the claim such as


                                                    5
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 11 of 27 PageID #: 143




“media system,” “media terminal,” “interactive computer network,” “media node,” “wireless range,”

“authorized access,” “digital media file,” “communication link,” and “security measure” individually,

or collectively do not transform the abstract idea into something more. [See ‘723 Patent at Claim

12.] In sum, independent claim 12 does not recite patentable subject matter because it is directed to

the abstract idea of placing electronic devices in communication via a computer network, and the

claim does not contain an inventive concept to transform the abstract idea to patent-eligible subject

matter. [See Id.]

        Consequently, this Court should deny Display’s Motion for Leave to Amend to File a

Second Amended Complaint as amendment would be futile because the relevant ‘723 Patent claims

are directed to an abstract idea and lack an inventive concept.

IV.     LEGAL STANDARDS

        Fed. R. Civ. P. 15(a) provides that, other than in certain circumstances where a party may

amend a pleading as a matter of course, a party may do so “only with the opposing party's written

consent or the court's leave.” Fed. R. Civ. P. 15(a)(2). The rule further explains that a court should

“freely give leave [to amend the pleadings] when justice so requires.” In re Chemed Corp., S'holder

Derivative Litig., No. CV 13-1854-LPS-CJB, 2017 WL 1712530, at *13 (D. Del. Apr. 25, 2017). The

“factors [that a court should] consider in weighing a motion for leave to amend are well-settled: (1)

whether the amendment has been unduly delayed; (2) whether the amendment would unfairly

prejudice the non-moving party; (3) whether the amendment is brought for some improper purpose;

and (4) whether the amendment is futile.” See Id.

        Determining whether a motion to amend would be futile requires the Court to apply “the

same standard of legal sufficiency as under Rule 12(b)(6).” Roquette Freres v. SPI Pharma, Inc., No.

C.A. 06-540GMS, 2009 WL 1444835, at *3 (D. Del. May 21, 2009). That determination, whether a

claim survives a 12(b)(6) motion, is a “purely legal question.” Barefoot Architect, Inc. v. Bunge, 632 F.3d


                                                    6
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 12 of 27 PageID #: 144




822, 835 (3d Cir. 2011). “An amendment is futile when it fails to state a claim upon which relief may

be granted.” Roquette Freres, 2009 WL 1444835, at *3.

        As addressed below, amendment would be futile because the ‘723 Patent’s claims are not

patent-eligible. Thus, Innovations would suffer prejudice by having to defend against meritless

claims. See Lanier v. Branch Banking & Tr. Co., No. CA 3:12-628-MBS-SVH, 2013 WL 4692586, at *8

(D.S.C. May 30, 2013), report and recommendation adopted sub nom. Lanier v. Branch Bank & Tr.

Co., No. CA 3:12-0628-MBS, 2013 WL 4696138 (D.S.C. Aug. 29, 2013) (“Plaintiffs' proposed

amendment would be futile and would cause Defendants prejudice in continuing to defend against

meritless claims.”)

V.      ARGUMENT AND CITATION TO AUTHORITY

        When patent claims on their face are plainly directed to an abstract idea, a court may

properly assess patent-eligibility under § 101 at the pleading stage. OIP Techs., Inc. v. Amazon.com, Inc.,

788 F.3d 1359, 1364 (Fed. Cir. 2015). In Alice Corp. Pty. v. CLS Bank Int'l, 134 S. Ct. 2347, 189 L.

Ed. 2d 296 (2014) the Supreme Court identified a two-step “framework for distinguishing patents

that claim” “abstract ideas from those that claim patent-eligible applications of those concepts.” Id.

at 2355. First, a court must determine whether the claim is “directed to” a patent-ineligible concept

such as an abstract idea. Id. at 2355. “If the answer is yes, the court must look to ‘the elements of

the claim both individually and as an ‘ordered combination’ to see if there is an ‘inventive

concept’—i.e., an element or combination of elements that is ‘sufficient to ensure that the patent in

practice amounts to significantly more than a patent upon the [ineligible concept] itself.’”

Callwave Commc'ns, LLC v. AT & T Mobility, 207 F. Supp. 3d 405, 409 (D. Del. 2016); (citing Alice,

134 S.Ct. at 2355.)

        A.      Amendment would be Futile as the ‘723 Patent is Patent-Ineligible under
                35 U.S.C. § 101 because it covers an abstract idea.




                                                    7
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 13 of 27 PageID #: 145




        Under Alice’s first step, “the claims are considered in their entirety to ascertain whether their

character as a whole is directed to excluded subject matter.” Internet Patents Corp. v. Active Network,

Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015). “[T]he court looks to the character of the invention and

the general purpose of the claim.” Landmark Tech., LLC v. Assurant, Inc., No. 6:15-CV-76-RWS-JDL,

2015 WL 4388311, at *4 (E.D. Tex. July 14, 2015).

        In the present case, the character and general purpose of the relevant claims of the ‘723

Patent at its core is simply placing two electronic devices in communication over a computer

network.      As addressed below, the ‘723 Patent is abstract because: (1) courts have found patents

like the ‘723 Patent that cover the transfer of content between computers as abstract; (2) the ‘723

Patent’s claims are abstract as they recite limitations in purely functional terms; and (3) the ‘723

Patent’s claims are abstract because they cover well-known or fundamental concepts. In its Motion

for Leave, Display does not argue the ‘723 Patent’s claims do not cover an abstract idea; rather, it

merely seeks to add allegations to the proposed Second Amended Complaint regarding whether the

patent claims an inventive step.

              1.     Like the ‘723 Patent, courts have found patents that cover the transfer of
                     content between computers as abstract.

        To evaluate whether an invention is directed to an “abstract idea,” courts “compare claims at

issue to those claims already found to be directed to an abstract idea in previous cases.” Sound View

Innovations, LLC v. Facebook, Inc., 204 F. Supp. 3d 655, 659 (D. Del. 2016) (citing Enfish, LLC v.

Microsoft Corp., 822 F.3d 1327, 1334 (Fed. Cir. 2016)). In addressing computer-implemented patents,

the court in In re TLI Communications LLC Patent Litigation, 823 F.3d 607, 610 (Fed. Cir. 2016)

contrasted claims that are directed to an improvement in the functioning of a computer with claims

that “simply add[ ] conventional computer components to well-known business practices” or consist

only of “generalized steps to be performed on a computer using conventional computer activity.”

Id. at 612.

                                                   8
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 14 of 27 PageID #: 146




        The claims in TLI were not directed to an improvement in computer functionality, but were

directed to “the use of conventional or generic technology in a nascent but well-known

environment.” Id. The court explained that the specification “does not describe a new telephone, a

new server, or a new physical combination of the two,” but instead “describes the system and

methods in purely functional terms.” Id. Thus, the court concluded, the claims “are not directed to

a solution to a ‘technological problem.’” Id. at 613.

        Another case involving a similar abstract idea is Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709

(Fed. Cir. 2014). The patent at issue in that case was drawn to a method for distributing copyrighted

content over the Internet, in which a consumer would be given access to copyrighted material in

exchange for viewing an advertisement, and the advertiser would pay for the copyrighted content.

The court held that “[t]he process of receiving copyrighted media, selecting an ad, offering the

media in exchange for watching the selected ad, displaying the ad, allowing the consumer access to

the media, and receiving payment from the sponsor of the ad all describe an abstract idea, devoid of

a concrete or tangible application.” Id. at 715. The Court added that “[a]ny transformation from the

use of computers or the transfer of content between computers is merely what computers do and

does not change the analysis.” Id. at 717.

        Similarly, in Affinity Labs of Texas, LLC v. DIRECTV, LLC, 838 F.3d 1253 (Fed. Cir. 2016),

the court held the patent claimed an abstract idea where it claimed “the general concept of out-of-

region delivery of broadcast content through the use of conventional devices, without offering any

technological means of effecting that concept.” Id. at 1262. In comparing the technology in TLI

and Ultramercial with that in Affinity Labs, the Court stated:

        Although the technology at issue in this case differs from that involved in TLI and
        Ultramercial, the analysis of the “abstract idea” step in those cases is instructive here.
        As in those cases, the patent in this case involves the conveyance and
        manipulation of information using wireless communication and computer
        technology. While the inventions in those cases involved tangible components, the
        components were conventional and were used in conventional ways. The same is

                                                     9
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 15 of 27 PageID #: 147




        true in this case, as the claimed cellular telephone is used to receive wireless signals,
        the claimed graphical user interface is used to display a menu of options to the user,
        and the claimed broadcasting system is used as the source of streaming content.

Id. at 1261 (emphasis added).

        On the same day the Federal Circuit decided Affinity Labs of Texas, LLC v. DIRECTV, LLC,

it held in Affinity Labs of Texas, LLC v. Amazon.com Inc., 838 F.3d 1266 (Fed. Cir. 2016) that “the

concept of delivering user-selected media content to portable devices is an abstract idea.” Id. at

1269. In affirming the lower court’s conclusion that the “idea of delivering media content to a

wireless portable device is one of long standing,” the Federal Circuit reasoned that “[i]t is not

debatable, however, that the delivery of media content to electronic devices was well known

long before the priority date of the '085 patent, and Affinity does not argue otherwise.” Id. at

1271 (emphasis added).

        Similar to the technology at issue in TLI, Ultramercial, Affinity Labs vs. DIRECTV and Affinity

Labs vs. Amazon, claim 12 of the ‘723 patent is directed to the abstract idea of establishing a

communication link between two electronic devices, such that a security measure (like a password,

firewall, etc.) associated with one of the devices can be bypassed. The idea of claim 12 at its core is

simply placing two electronic devices in communication over a computer network.                     Placing

electronic devices in communication via a computer network is not new. As TLI, Ultramercial,

Affinity Labs vs. DIRECTV and Affinity Labs vs. Amazon make clear, this technology has existed for

decades and is an abstract idea.

        Claim 12 is thus fundamentally directed to an abstract idea (i.e. connecting two electronic

devices over a computer network). Claim 12 merely recites a system for transmitting a digital media

file from a media node to a media terminal over a communication link. The generic technological

elements of the claim such as “media system,” “media terminal,” “interactive computer network,”

“media node,” “wireless range,” “authorized access,” “digital media file,” “communication link,” and


                                                   10
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 16 of 27 PageID #: 148




“security measure” individually, or collectively do not transform the abstract idea into something

more. See Affinity Labs of Texas, LLC v. Amazon.com Inc., 838 F.3d at 1270 (“Yet the claim terms to

which the magistrate judge referred, such as a ‘network based media management system’ and a

‘graphical user interface,’ are simply generic descriptions of well-known computer components.’”);

see also TLI Commc'ns LLC Patent Litig., 823 F.3d at 611 (physical components such as a telephone

and a server “merely provide a generic environment in which to carry out the abstract idea”); see also

Mortg. Grader, Inc. v. First Choice Loan Servs. Inc., 811 F.3d 1314, 1324–25 (Fed. Cir. 2016) (claims

reciting an “interface,” “network,” and “database” are directed to an abstract idea).

            2.      The ‘723 Patent’s Claims are abstract as they recite limitations in purely
                    functional terms.

        “In applying the principles emerging from the developing body of law on abstract ideas

under section 101, [the Federal Circuit] has noted that claims that are ‘so result-focused, so

functional, as to effectively cover any solution to an identified problem’ are frequently held

ineligible under section 101.’” See Affinity Labs of Texas, LLC v. DIRECTV, LLC, 838 F.3d 1253,

1258-1265 (Fed. Cir. 2016) (emphasis added) (“There is nothing in claim 1 that is directed to how to

implement out-of-region broadcasting on a cellular telephone”); see also In re TLI Commc'ns LLC

Patent Litig., 823 F.3d at 612 (“The specification fails to provide any technical details for the tangible

components, but instead predominately describes the system and methods in purely functional

terms.”)

        The ‘723 Patent’s claims are purely functional and are therefore patent-ineligible under

section 101. For example, the specification of the ‘723 Patent only cites in a generic sense how the

“communication link” is created.          It states “[a]t least one embodiment of the present

system 10 further    includes   a   communication       link 70 structured   to   dispose    the   media

terminal(s) 20 and the media node(s) 30 in a communicative relation with one another via the

interactive computer network 40.” [See ‘723 Patent at 4:53-59.] “In particular, the communication

                                                   11
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 17 of 27 PageID #: 149




link 70 of the various embodiments of the present system 10 is created and/or requested by the

media terminal 20.” [See Id.] A “terminal program” for the media terminal and “one or more node

programs” for the media nodes are mentioned as being “structured to facilitate the practice of the

present system”, though no more detail is given as to how these programs might create a

communication link. [See Id. at 4:53-57, 5:45-64.]

        The ‘723 Patent’s claims merely describe functional terms that are patent-ineligible under

Section 101. See Affinity Labs of Texas, LLC, 838 F.3d at 1258-1265 (“There is nothing in claim 1

that is directed to how to implement out-of-region broadcasting on a cellular telephone.”)

            3.      The ‘723 Patent’s claims are abstract because they cover well-known or
                    fundamental concepts.

        “The Supreme Court and [the Federal Circuit] have held that a wide variety of well-known

and other activities constitute abstract ideas.” See Intellectual Ventures I LLC v. Erie Indem. Co., No.

2017-1147, 2017 WL 5041460, at *4 (the patent ineligible “claims of the '298 patent merely

implement an old practice in a new environment.”); see also Intellectual Ventures I LLC v. Symantec

Corp., 838 F.3d at 1314 (the patent ineligible claim “merely applies a well-known idea using a generic

computer.”)

        Here, the claims of the ‘723 Patent do not apply the abstract idea to a “nascent”

environment; they merely add the well-known, fundamental concept of placing two electronic

devices in communication over a computer network. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d

709, 717 (Fed. Cir. 2014)(“Any transformation from the use of computers or the transfer of content

between computers is merely what computers do and does not change the analysis.”); see also Affinity

Labs of Texas, LLC v. Amazon.com Inc., 838 F.3d 1269 (“the concept of delivering user-selected media

content to portable devices is an abstract idea.”)

        As the Federal Circuit said in Affinity Labs of Texas, LLC v. Amazon.com Inc., “[i]t is not

debatable, however, that the delivery of media content to electronic devices was well known

                                                     12
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 18 of 27 PageID #: 150




long before the priority date of the '085 patent, and Affinity does not argue otherwise.” Id. at

1271. As the ‘723 Patent applies the well-known, fundamental concept of placing two electronic

devices in communication over a computer network, the claims are directed to a patent ineligible

abstract idea. See FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1094 (Fed. Cir. 2016) (the

patent ineligible “claims merely implement an old practice in a new environment.”); see also In re TLI

Commc'ns LLC Patent Litig., 823 F.3d at 612 (the patent ineligible claims “are directed to the use of

conventional or generic technology in a nascent but well-known environment, without any claim

that the invention reflects an inventive solution to any problem presented by combining the two.”)

        B.      Amendment would be futile because the ‘723 Patent’s claims fail to recite an
                inventive concept.

        Display seeks to amend its complaint to add, among other things, the allegation that the

“inventions claimed in the ‘723 Patent require the bypassing of a ‘security measure’ in order to

transfer an electronic file.” [See Proposed Second Amended Complaint at ¶ 17.] The second step of

the Alice test requires the Court to determine whether the subject patent's claims—when viewed

individually and as an ordered combination—contain “an inventive concept sufficient to transform

the claimed abstract idea into a patent-eligible application.” Intellectual Ventures I LLC v. Erie Indem.

Co., No. 201-1147, 2017 WL 5041460, at *5.

        “But when a claim directed to an abstract idea contains no restriction on how the result is

accomplished and the mechanism is not described, although this is stated to be the essential

innovation, then the claim is not patent-eligible.” Intellectual Ventures I LLC v. Symantec Corp., 838

F.3d at 1316 (Internal citation and punctuated omitted). Therefore, claims directed to an abstract

idea are patent-eligible only if they explain how the result of the patent is accomplished. See

Intellectual Ventures I LLC v. Erie Indem. Co., 850 F.3d 1315, 1331 (Fed. Cir. 2017) (“Nowhere do the

claims recite elements or components that describe how the invention overcomes these

compatibility issues.”); see also Two–Way Media Ltd. v. Comcast Cable Commc’ns, LLC, 874 F.3d 1329,


                                                   13
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 19 of 27 PageID #: 151




1339 (Fed. Cir. 2017) (“Inquiry therefore must turn to any requirements for how the desired result is

achieved.”) (emphasis added).

       “[I]t is not enough just to disclose the improvement in the specification; instead, the Court's

task becomes to ‘analyze the asserted claims and determine whether they capture these

improvements.’” See 3G Licensing, S.A. v. Blackberry Ltd., No. CV 17-82-LPS-CJB, 2018 WL 1419085,

at *5 (D. Del. Mar. 22, 2018) (quoting Berkheimer v HP Inc., 881 F.3d at 1369 (Fed. Cir. 2018)

(emphasis added). “In other words, ‘[t]o save a patent at step two, an inventive concept must be

evident in the claims.’” See Id. (quoting RecogniCorp, LLC v. Nintendo Co., 855 F.3d 1322, 1327

(Fed. Cir. 2017) (emphasis added); see also Alice, 134 S.Ct. at 2357 (“[W]e must examine the elements

of the claim to determine whether it contains an ‘inventive concept.’”) (emphasis added); Synopsys,

Inc. v. Mentor Graphics Corp., 839 F.3d 1138, 1149 (Fed. Cir. 2016) (“The § 101 inquiry must focus on

the language of the Asserted Claims themselves.”).

       The proposed Second Amended Complaint, specification, and claims are silent on how the

proposed alleged inventive step, i.e., bypassing a security measure, is implemented. The proposed

Second Amended Complaint states the “Inventions claimed in the ‘723 Patent require the bypassing

of a ‘security’ measure in order to transfer an electronic file.” [See Proposed Second Amended

Complaint at ¶ 17.] Display, however, makes no allegation regarding how the security measure is

bypassed. Compare Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, n. 3. (Fed. Cir.

2018) (Judge Reyna, Dissent) (“Aatrix’s new allegations in the Second Amended Complaint included

. . . specific allegations and diagrams spelling out the technology of the Aatrix Patent) with

TriPlay, Inc. v. Whatsapp pInc., No. CV 13-1703-LPS-CJB, 2018 WL 1479027, at *11 (D. Del. Mar. 27,

2018) (granting motion to dismiss where “[t]he claims, specification, and TAC are silent as to how

the proposed inventive concept is implemented.”).




                                                  14
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 20 of 27 PageID #: 152




        First, the main problem addressed in the Description of the Related Art is the “drawback”

of having media files on portable devices with small screens and small, weak sounding speakers. [See

‘723 Patent at 1:37-43.] Thus, the Description of the Related Art discusses transferring files to a

computer or other media devices that are “equipped with a larger or better quality screen, or having

higher quality speakers” or “may have better editing software” “than that disposed on the portable

device(s).” [See Id. at 1:44-49.] As it is undeniable that transferring files from one media device to

another is an abstract idea, it appears that Display now seeks to claim the inventive step is bypassing

a security measure.      See Ultramercial, 772 F.3d at 717 (“Any transformation from the use of

computers or the transfer of content between computers is merely what computers do and does not

change the analysis.”); see also Affinity Labs of Texas, LLC, 838 F.3d at 1266 (“[i]t is not debatable,

however, that the delivery of media content to electronic devices was well known long before the

priority date of the '085 patent[.]”).

        In this regard, the Description of Related Art merely says in passing it would be “beneficial if

the digital media communication protocol includes a communication link structured to bypass at

least one or more security measures” just like it says it would be “particularly beneficial if the various

media devices” are “structured to display, save, edit, manipulate, and/or transfer the one or more

digital media files.” [See Id. at 1:65-2:2.] The alleged inventive step of bypassing a security measure

is untethered to the problem that the patent proposes to address small screens with small speakers.

See W. View Research, LLC v. Bayerische Motoren Werke AG, 226 F. Supp. 3d 1071, 1081 (S.D. Cal.

2016) (“Untethered to the problems the patent disclosure identifies, these continuation claims are

written at a level of abstraction that purports to claim any system employing a wireless device that

sends an identifying signal to a receiver, which upon identifying the signal, accesses and provides

information associated with the identified user, which can be downloaded to that user's portable

electronic device.”)



                                                   15
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 21 of 27 PageID #: 153




        Second, the specification of the ‘723 Patent only cites in a generic sense how the

“communication link” is created to bypass a security measure. It states “[a]t least one embodiment

of the present system 10 further includes a communication link 70 structured to dispose the media

terminal(s) 20 and the media node(s) 30 in a communicative relation with one another via the

interactive computer network 40.” [See ‘723 Patent at 4:53-59.] “In particular, the communication

link 70 of the various embodiments of the present system 10 is created and/or requested by the

media terminal 20.” [See Id.] A “terminal program” for the media terminal and “one or more node

programs” for the media nodes are mentioned as being “structured to facilitate the practice of the

present system,” though no more detail is given as to how these programs might create a

communication link to bypass a security measure.         [See Id. at 4:53-57, 5:45-64.]   The generic

description of “communication link” and “terminal program” demonstrates that claim 12 of the ‘723

Patent does not claim an inventive step. See Affinity Labs of Texas, LLC, 838 F.3d at 1271 (“The

features set forth in the claims are described and claimed generically rather than with the specificity

necessary to show how those components provide a concrete solution to the problem addressed by

the patent.”).

        Third, the Detailed Description of the ‘723 Patent makes clear that any generic media

terminal can be used. “Accordingly, as shown in Fig. 1, the medial terminal(s) 20 of the various

embodiments described herein may include a computer, however, any device structured to facilitate

the practice of the present system in the intended fashion may be utilized, including but in no way

limited to a desktop computer, laptop or notebook computer, PDA, video game console, mobile

telephone, media system of a vehicle (e.g., an automobile), etc.” [See ‘723 Patent at 2:40-48.]

[Brackets in the Original.] The use of a generic/interchange media terminal demonstrates a lack of

an inventive step. See Affinity Labs of Texas, LLC, 838 F.3d at 1271 (“In particular, claim 14 requires

a ‘network based delivery resource,’ but that does not make the claim a patent-eligible



                                                  16
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 22 of 27 PageID #: 154




implementation of an abstract idea . . . . The specification makes clear that any technology capable of

wireless communication of audio information to the device would be covered.”)

        Fourth, it is not apparent how this claimed invention is sufficiently transformed from a

security measure being overcome by conventional means, such as simply inputting a password. See

Tele-Publ'g, Inc. v. Facebook, Inc., 252 F. Supp. 3d 17, 26 (D. Mass. 2017) (“Here, the security feature

similarly recites steps that could be performed using a pencil and paper or the human mind.”); see also

OpenTV, Inc. v. Apple, Inc., No. 14-CV-01622-HSG, 2015 WL 1535328, at *4 (N.D. Cal. Apr. 6,

2015) (“The problem of how to transmit, receive, store, and organize confidential information

deriving from multiple sources is not a creature of the Internet age: solutions to this problem date

back to the invention of smoke signals.”).

        Fifth, none of the claims at issue discuss at all how the communication link is structured to

bypass at least one or more security measures.           Independent Claim 12 merely says “said

communication link is structured to bypass the security measure of the media system,” but it does

not say how it is structured. Of the four dependent claims – claims 14, 16, 17, and 20–, only

dependent claim 14 mentions a security measure: “The media system of claim 12, wherein the

transmission of the at least one digital media file from the wireless mobile device to the media

system completely bypasses the security measure.” [See ‘723 Patent at 8:62-65.]

        Here again, dependent claim 14 does not say how the transmission completely bypasses the

security measure. See RecogniCorp, LLC v. Nintendo Co., 855 F.3d at 1327 (“To save a patent at step

two, an inventive concept must be evident in the claims.”) (emphasis added); see also 3G Licensing,

S.A. v. Blackberry Ltd., No. CV 17-82-LPS-CJB, 2018 WL 1419085, at *6 (D. Del. Mar. 22, 2018)

(granting motion to dismiss, after being notified by plaintiff of Aatrix, stating: “The Court agrees

with Defendants. No ‘saving inventive concept,’ Two–Way Media, 874 F.3d at 1336, is evident in the

claims.’”); see also TriPlay, Inc. v. Whatsapp Inc., No. CV 13-1703-LPS-CJB, 2018 WL 1479027, at *11



                                                  17
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 23 of 27 PageID #: 155




(D. Del. Mar. 27, 2018)(granting motion to dismiss after Aatrix stating “Absent from the claims,

specification, and the pleadings is any insight into how the claimed video delivery/clickable icon

feature is achieved.”) (emphasis added).

        Sixth, “as the Federal Circuit has recognized, ‘That a computer receives and sends the

information over a network—with no further specification—is not even arguably inventive.’” See

IPA Techs., Inc. v. Amazon.com, Inc., No. CV 16-1170-RGA, 2018 WL 1583051, at *10 (D. Del. Mar.

31, 2018) (citing buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014)).               Simply

amending the complaint to say the inventive step is bypassing a security measure is not enough to

save the patent when the claims of the patent do not explain how the security measure is bypassed.

See Pres. Wellness Techs. LLC v. Allscripts Healthcare Sols., No. 2:15-CV-1559-WCB, 2016 WL 2742379,

at *10 (E.D. Tex. May 10, 2016), aff'd sub nom. Pres. Wellness Techs. LLC v. Allscripts Healthcare Sols. Inc.,

684 F. App'x 970 (Fed. Cir. 2017)(granting motion to dismiss where the alleged inventive step of

“two-way firewall program” had no structural definition); see also W. View Research, LLC v. Bayerische

Motoren Werke AG, 226 F. Supp. 3d 1071, 1080 (S.D. Cal. 2016), appeal dismissed, No. 17-1545,

2017 WL 3397442 (Fed. Cir. May 2, 2017) (“Nothing further is disclosed to explain the operation of

this step if such a step was indeed inventive . . . . To the contrary, the specification represents that

there are known methods of defeating this authentication process and therefore suggests the

optional implementation of encryption protocols to enhance security”); see also IPA Techs., Inc. v.

Amazon.com, Inc., No. CV 16-1170-RGA, 2018 WL 1583051, at *10 (D. Del. Mar. 31, 2018) (“The

lack of any teaching in the specification about how to construct a navigation query suggests that

processes for constructing navigation queries were known in the art.”)

        Consequently, as “the transfer of content between computers is merely what computers

do,” Ultramercial, 772 F.3d at 717, the ‘723 Patent’s claims would preempt the fundamental concept




                                                     18
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 24 of 27 PageID #: 156




of placing electronic devices in communication, and more specifically placing a media terminal in

communication with a media node (such as a mobile phone or a laptop) via a computer network.

        C.      The dependent claims of the ‘723 Patent are patent-ineligible.

        The analysis for dependent claims 14, 16, 17, and 20 are identical to that of independent

claim 12. These four additional dependent claims add limitations to claim 12’s “media system”

where the transmission of the digital media file completely bypasses the security measure; the media

system is an audio system; the communication link is a peer-to-peer connection, a Bluetooth

connection or a WiFi connection; and the media file is provided by the wireless device. [See

‘723 Patent at 8:62-9:14.]

        None of these four additional limitations changes the analysis related to the abstract idea and

the failure to include an appropriate transformation—even if they implicate specific components or

networking technologies. See Ultramercial, Inc., 772 F.3d at 716 (“The claims' invocation of the

Internet also adds no inventive concept. As we have held, the use of the Internet is not sufficient to

save otherwise abstract claims from ineligibility under § 101.”); see also CyberSource Corp. v. Retail

Decisions, Inc., 654 F.3d at 1370 (Fed. Cir. 2011) (reasoning that the use of the Internet to verify credit

card transaction does not meaningfully add to the abstract idea of verifying the transaction);

see also Affinity Labs of Texas, LLC, 838 F.3d at 1270 (“Yet the claim terms to which the magistrate

judge referred, such as a ‘network based media management system’ and a ‘graphical user interface,’

are simply generic descriptions of well-known computer components.”); see also TLI Commc'ns LLC

Patent Litig., 823 F.3d at 611 (physical components such as a telephone and a server “merely provide

a generic environment in which to carry out the abstract idea”); see also Mortg. Grader, Inc. v. First

Choice Loan Servs. Inc., 811 F.3d 1314, 1324–25 (Fed. Cir. 2016) (claims reciting an “interface,”

“network,” and “database” are directed to an abstract idea).




                                                    19
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 25 of 27 PageID #: 157




        Importing requirements into claim 12’s media system to completely bypass the security

measure, require the media system to be an audio system, employing a specific existing networking

technology, or having the wireless device provide the media file, does not make this abstract idea

patentable. Completely bypassing a security measure is the same as bypassing a security measure,

and the ‘723 Patent does not explain how either are accomplished. Requiring a media system to be

an audio system and requiring the communication link to comprise an existing networking

technology adds nothing new or inventive. Nor does requiring the media file to be provided by the

wireless device.

        None of these limitations transforms the abstract idea of simply placing two electronic

devices in communication over a computer network. If the Court allowed such claims, the claims

would preempt a fundamental and well-known practice of placing two electronic devices in

communication over a computer network. Thus, the dependent claims do not alter the fact that the

claims are for “placing two electronic devices in communication over a computer network.” See

Ultramercial, 772 F.3d at 717 (“the transfer of content between computers is merely what computers

do[.]”). Without more, there is not an inventive concept to ensure that this is significantly more

than the mere abstract idea. Therefore, these claims are also invalid under 35 U.S.C. § 101.

VI.     CONCLUSION

        The ‘723 Patent is patent-ineligible under 35 U.S.C. § 101 because it claims the abstract idea

of placing two electronic devices in communication over a computer network and fails to recite an

“inventive concept.” The ‘723 Patent would pre-empt use of placing two electronic devices in

communication over a computer network and would effectively grant a monopoly over an abstract

idea. As Display cannot state a claim for relief for patent infringement, this Court should deny

Display’s Motion for Leave to File a Second Amended Complaint as amendment would be futile.




                                                 20
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 26 of 27 PageID #: 158




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OF COUNSEL:

BATES & BATES, LLC                                 FERRY JOSEPH, P.A.

Andrea E. Bates (Pro Hac Vice)                     /s/ Rick S. Miller
Kurt W. Schuettinger (Pro Hac Vice)                Rick S. Miller (#3418)
1890 Marietta Boulevard NW                         824 Market St., Suite 1000
Atlanta, GA 30318                                  P.O. Box 1351
(404) 228-7439                                     Wilmington, DE 19899
abates@bates-bates.com                             (302) 575-1555
kschuettinger@bates-bates.com                      rmiller@ferryjoseph.com
Attorneys for Defendant Innovations Brands, Inc.   Attorney for Defendant Innovations Brands, Inc.




                                                    21
Case 1:17-cv-01426-RGA Document 22 Filed 04/12/18 Page 27 of 27 PageID #: 159




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been on April 12, 2018, to all counsel of record who are deemed to have consented

to electronic service via the Court’s CM/ECF system per Local Rule CV-5.



                                                           /s/ Rick S. Miller
                                                           Rick S. Miller




                                              22
